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                            UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                                            §
  STRIKE 3 HOLDINGS, LLC,                   §           Civil Action
                                            §           No. 8:20-cv-00676-MSS-CPT
                              Plaintiff,    §
  v.                                        §
                                            §
  JOHN DOE infringer identified as using IP §
  address 47.197.99.186,                    §
                              Defendant.    §
                                            §

                                               ORDER


           The Court, having received the Motion of Leonard J. French, Esq. to Withdraw as Counsel

  of Record for Defendant John Doe, with Defendant’s consent, and the Court having considered all

  papers filed in connection with the Motion, and the Court finding that it is appropriate to grant the

  Motion,

           Accordingly, it is so ORDERED.



  Dated:
                                                 United States District Court Judge
                                                 Middle District of Florida
